         Case 4:24-cv-00543 Document 10 Filed on 03/07/24 in TXSD Page 1 of 1

 Melissa Alonso
 Partner
 malonso@bradley.com
 713.576.0311 direct



                                                            0DUFK , 2024

 Via email: mahagger.legal@gmail.com
 Marcella A. Hagger
 Land, Labor & Capital PLLC
 5718 Westheimer Rd., Ste. 1000
 Houston, Texas 77057

           RE:        Case No. 4:24-cv-00543, Craig A. Dodds v. Carrington Mortgage Services, LLC;
                      in the Southern District of Texas, Houston Division

 Dear Marcella:

        As you know, my firm represents Carrington Mortgage Services, LLC (“Carrington”) in
 the above-referenced litigation. Please allow this letter to serve as our agreement that the property
 made the subject of this suit, located at 9317 Mohawk Dr., La Porte, Texas 77571 (the
 “Property”), is not currently posted for foreclosure. Further, Carrington has agreed to provide
 you 0 days written notice prior to re-posting the Property for foreclosure in the future.

        In exchange, your client has agreed to withdraw his Renewed Motion for Temporary
 Restraining Order (Doc. 3) and agreed to pass the temporary injunction hearing currently
 scheduled for March 7, 2024 at 1:30 pm.

         Please confirm this accurately represents the Parties’ agreement by signing below. Please
 feel free to reach out if you have any questions.

                                                               Sincerely,
                                                                       y,



                                                               Melissa
                                                                 li Al Alonso



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 Marcella A. Hagger
 Counsel for Plaintiff Craig Dodds




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